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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


SECURITIES AND EXCHANGE
COMMISSION,

                              Plaintiff,

       v.                                                 No. 1:23-cv-1346 (JSR)

TERRAFORM LABS PTE LTD. and
DO HYEONG KWON,

                              Defendants.



     PLAINTIFF’S MOTION FOR FINAL JUDGMENT AGAINST DEFENDANTS

       Plaintiff Securities and Exchange Commission (“SEC”) respectfully moves the Court to

enter final judgment against Defendants Terraform Labs PTE LTD. and Do Hyeong Kwon

(collectively, “the Defendants”). On April 5, 2024, the jury returned a verdict against the

Defendants on all counts. For the reasons set forth in the SEC’s memorandum of law and the

accompanying declarations of Avron Elbaum and Donald Battle, submitted herewith, the Court

should (1) enjoin Defendants from further violation of Sections 5 and 17(a) of the Securities Act

of 1933, and Section 10(b) of the Securities Exchange Act of 1934 and Rule 10b-5 thereunder;

(2) jointly and severally order them to pay disgorgement of $4,192,147,847 plus $545,748,909 in

prejudgment interest; (3) ordering Terraform and Kwon to pay a $420 million and a $100 million

civil penalty, respectively; (4) imposing a conduct-based injunction on Defendants, and an

officer-and-director bar on and a sworn accounting from Kwon; and (5) holding that the fraud-

related monetary remedies imposed on Terraform are non-dischargeable in bankruptcy, and enter

final judgment.
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Dated: April 19, 2024               Respectfully submitted,

                                    /s/ Christopher J. Carney
                                    Christopher J. Carney
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